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JUDGE 53} INE YY} STEIN
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Daniel M. Risis

Honorable Judge Sidney Stein
United States District Court
Southern District of New York
500 Pearl Street

New York, NY 10007

Re: United States of America v, Robert Menendez, Wael Hana, and Fred Daibes
Case No. $4.23 Cr.490(SHS)

October 15, 2024
Dear Judge Stein,

I am writing to formally request the opportunity to address the court as a victim
during the sentencing of Robert Menendez, Wael Hana, and Fred Daibes. | am
Daniel M. Risis, and my life, business, and livelihaod have been severely and
systematically damaged by the actions of these men, particularly Fred Daibes. As a
victim, | respectfully invoke my right under both federal law and New Jersey’s Crime
Victim's Rights Act (N.J.S.A. § 52:4B-36) to present an oral statement regarding the
profound impact their actions have had on me, my family, and my business.

It is well established under both federal and New Jersey law that victims have the
right to be heard at sentencing. Under the Crime Victims’ Rights Act, 18 U.S.C. §
3771, victims are afforded a host of protections, including:

e The right to be reasonably heard at public court proceedings involving
release, plea, sentencing, or any parole proceedings (18 U.S.C. § 3771(a(4)).

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e The right to be treated with fairness and respect for their dignity and privacy
(18 U.S.C. § 3771(a)(8)).

The courts have long upheld the right of victims to speak at sentencing. In Payne v.
Tennessee, 501 U.S. 808 (1991), the U.S. Supreme Court affirmed the importance of
victim impact statements, stating that they provide a voice to the victims and help
courts understand the true gravity of the crime. Additionally, New Jersey's
Constitution, Article I, paragraph 22, further protects my right to submit an impact
statement before sentencing, outlining the harm caused by criminal actions, as
specified in the Rights of Crime Victims and Witnesses Act.

Fred Daibes, in concert with Mariners Bank and under the influence of Senator
Menendez, orchestrated fraudulent financial dealings that not only destroyed my
multimillion-dollar business portfolio but also led to financial devastation,
professional ruin, and personal despair. Despite my efforts to alert authorities and
seek redress for these criminal acts, | have been systematically ignored, all while
these men continued their criminal enterprise with impunity.

As detailed in my Motion for Investigation and various other submissions to the
court, these crimes resulted in the illegal foreclosure of my properties, the loss of
over $20 million in net worth, and irreparable damage to my reputation and
business. | owned and managed several high-value commercial properties that
were fraudulently seized, leaving me bankrupt and stripped of the fruits of my
labor. My involvement with men like Fred Daibes, who manipulated financial
systems to their advantage, has not only resulted in my financial collapse but also
caused untold emotional and psychological damage to my family and me.

It is imperative that | be granted the opportunity to present my testimony to the
court during senten¢ing. Allowing victims to participate in this process is not only a
matter of legal precedent, as noted in United States v. Booker, 543 U.S. 220 (2005),
but also essential to ensuring that the court has a full understanding of the true
impact of these crimes. As Justice White once noted in Booth v. Maryland, 482 U.S.
496 (1987), the harm caused by criminal actions cannot be adequately gauged

without hearing directly from the victims.

As a direct victim of Fred Daibes, Robert Menendez, and their criminal associates, |
believe that my testimony will provide the court with crucial insight into the
devastating consequences of their actions. While their crimes may appear as mere

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violations of financial and lending regulations on paper, the human cost—the lives
destroyed, the businesses bankrupted—must be fully appreciated before the court
renders its final judgment.

For over four years, I have tirelessly pursued justice, battling not only the criminal
acts of these men but also a system that has often turned a blind eye to the
corruption and fraud perpetrated by powerful individuals. I implore this court to
recognize my legal right to be heard at sentencing, not just as a victim but as a
voice for the many whose lives have been destroyed by these men’s actions.

Thank you for your time and consideration of my request. I look forward to the
pportunity to speak before the court and provide a full account of the impact
these crimes have had on my life and livelihood.

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PIERCE BAINBRIDGE

APD WS.

Daniel M. Risis

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United States District Court
Southern District of New York
500 Pearl Street

New York, NY 10007

Re: United States of America v. Robert Menendez, Wael Hana, and Fred Daibes
Case No. S4 23 Cr. 490(SHS)

October 15, 2024
Dear Judge Stein,

I am sending you my contact information under separate cover as | am sure my
letter will be uploaded to the docket and I wanted my contact information to be
sent separately. Thank you.

Daniel M. Risis, Victim

